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     IT IS ORDERED as set forth below:



     Date: November 19, 2018
                                                   _____________________________________
                                                               James R. Sacca
                                                         U.S. Bankruptcy Court Judge

 _______________________________________________________________


                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                               GAINESVILLE DIVISION

IN RE:                                      ) CHAPTER 7
                                            )
JUSTIN TYLER POILES                         ) NO. 16-21320
CHRISTY MICHELLE POILES                     )
           Debtor(s)                        )
                                            )
TERRY LOUDERMILK                            )
          Movant                            )
                                            )
vs                                          ) CONTESTED MATER
                                            )
JUSTIN TYLER POILES                         )
CHRISTY MICHELLE POILES                     )
      and                                   )
BRADLEY J. PATTEN, Trustee                  )
           Respondents                      )

                      ORDER MODIFYING THE AUTOMATIC STAY

         TERRY LOUDERMILK (hereinafter “Movant’) filed a Motion to Modify the Automatic
Stay [Docket No. 53] seeking relief for the limited purpose of continuing suit against Debtor to
adjudicate and liquidate Debtor’s liability in connection with the damages sustained by Movant.
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       Hearing on the Motion was scheduled for October 11, 2018, upon notice Movant contends
was proper. At the call of the calendar on October 11, 2018, no party appeared in opposition to
the Motion.


       Accordingly, it is hereby:


       ORDERED that the Motion is granted; the automatic stay of 11 U.S.C. §362 is modified
for the limited purpose of continuing the pending litigation in the Georgia Superior Court of
Dawson County action, C#2018-CV-0123, and proceed with the state court litigation to judgment
in order to liquidate Movant’s claims against Debtor and to the extent it may be necessary, to
execute, levy, and collect upon such judgment for damages as may be obtained by Movant in the
state court action, from all available insurance policies which provide coverage for the subject
wreck, including all insurance policies which provide coverage for Debtor or Debtor’s employers,
as well as any uninsured motorist coverage available to Movant which may apply, only.
                                      [END OF DOCUMENT]


Prepared by:

_/s/Quentin Carr_____________
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No Opposition;
Signed with Expression Permission by,


/s/ Bradley, J. Patten
Bradley J. Patten
GA Bar # 566210
Smith, Gilliam, Williams, P.A.
PO Box 1098
Gainesville, GA 30503
Chapter 7 Trustee



No Opposition;
Signed with Expression Permission by,


/s/ Matt Nash
Matt Nash
GA Bar # 306591
Jeffrey Filed & Associates
342 North Clarendon Avenue
Scottdale, GA 30079
Attorney for Debtor
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